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                          UNITED STATES DISTRICT COURT
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                        NORTHERN DISTRICT OF CALIFORNIA
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                                OAKLAND DIVISION
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     IN RE LITHIUM-ION BATTERIES ANTITRUST   Case No. 13-MD-02420-YGR (DMR)
15   LITIGATION
16

17                                           DECLARATION OF CHRIS
18                                           WHIPPS (DIGITALPAY) RE FIRST
                                             ROUND DISTRIBUTION AND
19                                           PROPOSED PLAN FOR SECOND
                                             ROUND DISTRIBUTION
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22   This Document Relates to:
     ALL INDIRECT PURCHASER ACTIONS
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 1          I, Chris Whipps, declare as follows:
 2          1.      I am employed as CEO of Sipree, Inc., d/b/a DigitalPay, which serves as one of the
 3   Court-appointed Administrators of the Settlements. As the CEO of DigitalPay, I oversee the
 4   administrative and executive services provided in this matter. I make this declaration to further
 5   outline those administrative services. I have personal knowledge of the facts set forth herein and, if
 6   called as a witness, could and would testify competently thereto.
 7          2.      This Court has also previously appointed Epiq Class Action & Claims Solutions, Inc.
 8   (Epiq) as a claims administrator for the Indirect Purchaser Class (ECF Nos. 2475, 2571).
 9          3.      As stated in the Indirect Purchaser Plaintiffs’ Plan and Schedule of Distribution and
10   Order approved on May 02, 2023, the claims administrator received 1,079,487 timely and valid
11   claims via electronic submission at https://www.reversethecharge.com, via email to
12   info@reversethecharge.com, and via U.S. Mail.
13          4.      During the initial payment distribution, certain class members contacted Epiq to
14   dispute their claim determinations. Where appropriate, and with approval from counsel, Epiq
15   attempted adjusted payments to these class members from unclaimed funds. Epiq also processed
16   previously unverified claims after May 2, 2023. A total of 7,746 additional claimants were added as
17   valid claims, bringing the total number of claims to 1,087,233. Of these claimants, 1,065,705
18   requested a digital payment, 1,545 requested a check, and 19,983 requested a wire transfer.
19          5.      From May 31, 2023, to June 27, 2023, DigitalPay sent digital payments to claimants.
20   Epiq received claimant inquiries until September 29, 2023, and DigitalPay sent additional digital
21   payments through November 9, 2023. 1,341 payment emails were suppressed. Suppressions are
22   controlled by third party Email Service Providers and individual email recipients, and can result
23   from the following circumstances:
24                         Invalid account (cannot be found);
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                           Account no longer in use;
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                           Account flagged for fraud;
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                           “Temporary” accounts—email accounts opened
28                          for one transaction and never used again; or
      DIGITALPAY DECL. RE SECOND ROUND DISTRIBUTION –
      CASE NO. 13-MD-02420-YGR (DMR)
                                                        -1-
                           User unsubscribes / opts out.
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 2          6.      From June 21, 2023 to February 12, 2024, Epiq sent 1,545 paper checks and 19,983
 3   wire transfers to claimants who had requested those forms of distribution.
 4          7.      As set forth in the approved Indirect Purchaser Plaintiffs’ Plan and Schedule of
 5   Distribution and Order, the total Net Settlement Fund Available for Distribution at the start of
 6   claimant payouts was $70,702,515.77. After adjustments for payments delivered, incremental
 7   program expenses, and additional Phase 1 re-attempt payments, $2,796,908.20 remains for the Phase
 8   II second round distribution to class members:
 9

10           Settlement Funds Available for Distribution                            $70,702,515.77
             Successful Checks                                                     ($2,657,051.51)
11
             Pending Checks                                                          ($558,358.86)
12           Successful Wires                                                     ($57,547,050.88)
             Pending Wires                                                           ($126,295.26)
13           Successful Digital Payments                                           ($6,730,714.25)
14           Duplicate Payments and Testing                                               (681.46)
             Miller Kaplan Tax Payment                                                 ($6,944.00)
15           Re-attempt Phase 1 Payments (see Section 8 below)                       ($278,511.35)
16           Net Settlement Funds for 2nd Distribution                               $2,796,908.20

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            8.      There are 1,094 claimants who have actively reached out to Epiq and informed the
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     claims administrators they did not receive their payment due to forgetfulness, email deliverability or
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     other technical issues beyond our control. DigitalPay will attempt to pay these claimants via their
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     current e-mail address on record. If DigitalPay does not receive a response from the claimant via the
21
     e-mail address on record, Epiq will continue to try and contact the claimants via phone, physical
22
     address, or other email addresses on record (if any of this information is readily and reasonably
23
     available).
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            9.      Phase II second round distribution is proposed to consist of two components: a pro-
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     rata distribution of remaining settlement funds to all claimants who accepted funds in Phase I; plus, a
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     small number of payment exceptions to be sent to valid claimants who requested funds after their
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     digital payment acceptance window had expired (see Section 8 above). Any claimants who receive
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                                                        -2-
      DIGITALPAY DECL. RE SECOND ROUND DISTRIBUTION –
      CASE NO. 3:10-MD-02420-YGR (DMR)
 1   an exception payment will receive both their original plus their appropriate second round pro rata
 2   distribution amount.
 3           10.     The pro-rata distribution will be calculated by first reducing the net available
 4   settlement funds balance by the amount to go to claimants for payment exceptions. After this step,
 5   the calculation will be based on a $1.00 minimum payment1 for each claimant, plus a pro rata
 6   amount based on total units purchased across all categories. Epiq will plan to allocate 90% of the
 7   remaining fund to repealer state claims and the remaining 10% to non-repealer state claims.
 8
                                                                               Cumulative Dollar
 9                         Payment Type            Number of Claimants
                                                                                  Amount
10                    Checks                                         1,100            $ 76,772.96
                      Wires                                         19,979         $ 1,548,426.75
11                    Digital                                      949,199         $ 1,171,601.66
12                                     TOTAL                       970,278         $ 2,796,801.37

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14            11.    Pro rata payments will be received via the same end point as where the claimant

15   received her Phase I funds. However, some digital endpoints such as Target and Starbucks have

16   $5.00 minimums. Individuals receiving less than $5.00 for their pro rata distribution who accepted

17   their original payment via Target or Starbucks will only be able to receive their funds on a virtual

18   Mastercard, which can be issued for under $5.00. DigitalPay will clearly explain this to claimants to

19   avoid friction in the receipt of Phase II funds.

20           12.     DigitalPay expects to begin the Phase II second round of distribution on February 21,

21   2024, and will finish delivering payments on or before March 27, 2024. Epiq expects to send checks

22   and wire payments to applicable class members by February 23, 2024. All checks issued will have

23   an expiration date of 30 days. On April 19, 2024, DigitalPay and Epiq will be able to provide a final

24   report of any remaining funds after the Phase II distribution. Digital payments and wire transfers will

25   be delivered immediately, so the only variable that would affect the remaining balance is the take

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           The $1.00 minimum payment is recommended to avoid claimant complaints. From experience in other cases,
     DigitalPay has witnessed friction for payouts under $1.00.
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      DIGITALPAY DECL. RE SECOND ROUND DISTRIBUTION –
      CASE NO. 3:10-MD-02420-YGR (DMR)
 1   rates for physical checks, and the take rates for the 1,094 claimants requesting a re-attempt of their
 2   digital payment. Epiq will make a concerted effort to reach out to claimants who receive a physical
 3   check and remind them to cash it.
 4          13.     Because Phase 1 payments were made after the current modified deadline due to
 5   claimant inquiries, the administrators propose extending the current schedule by seven weeks. A
 6   significant inquiry made on behalf of 7,693 claimants with a cumulative payment amount of
 7   $126,295.26 was received during the final stages of Phase 1. The claimants were initially
 8   unreachable, but with approval from counsel, later than scheduled payments were attempted. Also,
 9   during this 7-week proposed extension, administrators will have sufficient time to attempt multiple
10   contacts to the 1,094 claimants referred to in paragraph 8, to ensure as many of these claimants as
11   possible receive payment.
12          14.     Per the Court’s schedule, DigitalPay will submit another post-distribution report on
13   April 19, 2024 that will confirm (i) the final amount remaining after the second round of
14   distribution; (ii) the escheatment of the remaining amount to the California Attorney General for use
15   in prosecuting consumer and antitrust claims; and (iii) that the settlement fund has been reduced to
16   zero after completing the distribution of the settlement funds for this case.
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      DIGITALPAY DECL. RE SECOND ROUND DISTRIBUTION –
      CASE NO. 3:10-MD-02420-YGR (DMR)
 1                                                              Current Deadline     Proposed Modified
                               Event
                                                                 (ECF No. 2777)          Deadline
 2    Phase II: Second Round Distribution
 3    Claims administrators, Epiq and DigitalPay securely
      deliver a final pro rata payment to all payees who took
 4
      a payment in the Initial Payment Offering (Phase I),
 5    including the 1,094 claimants requesting an additional
      payment attempt. This final phase delivers funds to all   February 7, 2024       March 27, 2024
 6    entitled claimants with the intent of taking the
      settlement balance as close to $0 as possible.
 7
      Claims administrator Epiq to reissue checks and wire
 8
      transfers with a 30-day expiration to those who cashed
 9    or received their payment from Phase I distribution.

10    Final Reporting
      Claims administrator DigitalPay to provide final
11    report regarding the disbursement of the settlement
      funds.
12    Any remaining funds will be distributed to the              March 1, 2024         April 19, 2024
      California Attorneys General for the Class
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      jurisdictions for use in prosecuting consumer antitrust
14    claims.

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            I declare under penalty of perjury under the laws of the United States of America that the
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     foregoing is true and correct. Executed this 13th day of February 2024, in San Francisco, California.
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                                                                     CHRIS WHIPPS
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      DIGITALPAY DECL. RE SECOND ROUND DISTRIBUTION –
      CASE NO. 3:10-MD-02420-YGR (DMR)
